Case 1:23-cr-00039-RJJ ECF No. 64-3, PageID.393 Filed 01/09/24 Page 1 of 5




                          Exhibit C
                      pro se leter
                 received 1/9/24
Case 1:23-cr-00039-RJJ ECF No. 64-3, PageID.394 Filed 01/09/24 Page 2 of 5
Case 1:23-cr-00039-RJJ ECF No. 64-3, PageID.395 Filed 01/09/24 Page 3 of 5
Case 1:23-cr-00039-RJJ ECF No. 64-3, PageID.396 Filed 01/09/24 Page 4 of 5
Case 1:23-cr-00039-RJJ ECF No. 64-3, PageID.397 Filed 01/09/24 Page 5 of 5
